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                                                              U.S. WSTFCT COURT
                       UNITED STATES DISTRICT COURT              SAV4J(:4H DIV.

                  FOR THE SOUTHERN DISTRICT OF GEORGIA           JUL 27 PH 2: 18

                              SAVANNAH DIVISION                      All
                                                            LERK_.....
                                                               So. uIs)'r          -
UNITED STATES OF AMERICA,

                     Plaintiff,

VS.                                                 4: 16CR260

KHALIL SLOMAN,

                   Defendant.


                                    ORDER

       As previously directed in open court, the conditions of

release for the above-referenced defendant are hereby modified to

include the following:


       Defendant's travel is restricted to the Southern District of
       Georgia and to the Northern District of Georgia for the
       purposes of meeting with counsel and for family visits as pre-
       approved by the supervising officer.

       Defendant shall submit to testing for a prohibited substance
       if required by the pretrial services officer or supervising
       officer. Testing may be used with random frequency and may
       include urine testing, the wearing of a sweat patch, a remote
       alcohol testing system, and/or any form of prohibited
       substance screening or testing. The defendant must not
       obstruct, attempt to obstruct, or tamper with the efficiency
       and accuracy or prohibited substance screening or testing.


       All other conditions of release as previously set remain in

full force and effect.


       SO ORDERED,   this _          day of July, 2016.



                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
